MCAVOY COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.McAvoy Co. v. CommissionerDocket No. 9216.United States Board of Tax Appeals10 B.T.A. 1017; 1928 BTA LEXIS 3977; February 27, 1928, Promulgated *3977  1.  Petitioner purchased renewal rights to saloon licenses in the City of Chicago, assignment of such rights being made in the name of its employees.  Under the long continued custom of the Chicago authorities in issuing licenses to the person in whose name the assignment was made, such rights were of substantial value.  This value was lost when prohibition became effective.  Held, that the cost of these renewal rights was a proper item to be included in invested capital, and held, further, that petitioner sustained a loss in the fiscal year ended September 30, 1919, measured by the cost of the property to it.  2.  When the usefulness of business property is lost to a taxpayer as a result of prohibition legislation, and the property is neither abandoned nor sold, but is placed in storage or maintained in readiness for use, a deductible loss has not been sustained.  Edward G. Ince, Esq., for the petitioner.  J. D. Foley, Esq., for the respondent.  LITTLETON*1017  The Commissioner determined deficiencies in income and profits tax for the period January 1, 1918, to September 30, 1918, and the fiscal year ended September 30, 1919, in the*3978  respective amounts of $29,274.47 and $31,433.  *1018  FINDINGS OF FACT.  Petitioner is an Illinois corporation with its principal place of business in Chicago.  Prior to June 30, 1919, it was engaged principally in the manufacture and sale of beer, though some "near beer" was manufactured and sold from 1915 to June 30, 1919.  June 30, 1919, petitioner ceased the manufacture and sale of beer and since that time its business has consisted principally in the manufacture and sale of "near beer." Its largest production of "near beer" was in the fall of 1919 and in 1920, since which time this business has been on the decline.  In 1920 its production averaged 140 barrels of "near beer" a day, but this production gradually decreased so that at the present time the production is only 30 barrels a day.  In 1906 the City Council of Chicago, Ill., enacted an ordinance, generally known as the Harkin's Limitation Ordinance, which provided for one license to every 500 of the population of the City of Chicago, and that no new licenses should be issued, except renewals of those already issued, after this proportion had been reached.  It also provided that no saloon license should be issued*3979  to a corporation.  On October 26, 1912, the Supreme Court of Illinois in ; , decided that that section of the Harkin's Limitation Ordinance which limited the number of saloon licenses in proportion to the population was valid, but that the provisions for the renewal of saloon licenses and the assignment of renewal rights thereof were invalid.  In spite of this decision this ordinance was amended March 9, 1914, to provide for the recording of renewal rights of saloon licenses and for a recording fee of $1; and it was again amended March 22, 1915, and March 18, 1918.  The last amendment provided for the division of the license year into four periods instead of two.  From 1906 to 1918 the mayor of the city of Chicago, and the proper officials acting under him, recognized the custom and practice of the assignment of renewal rights of saloon licenses, and issued saloon licenses to the assignees of such renewal rights unless, under the police power of the city of Chicago, such assignees were deemed unfit or improper persons to operate saloons; but such assignees had no legal right to*3980  compel the issuance of a license.  The city officials knew that the renewal rights of saloon licenses were being purchased by breweries during this period.  The city officials also furnished forms to breweries and others for such assignments, and required that they be recorded with the city collectors for which recordation a fee of $1 was charged.  Prior to March 1, 1913, petitioner purchased the renewal rights of 98 saloon licenses and paid therefor $86,084.73.  On March 1, 1913, these renewal rights had a fair market value in excess of their cost.  *1019  During the years 1914, 1915, and 1916, petitioner purchased renewal rights of 33 saloon licenses and paid therefor the sum of $44,302.38.  These renewal rights were kept in full force and effect by successive renewals from the date of their purchase to June 30, 1919.  The purchase of renewal rights by petitioner was necessary for the conduct of its business.  In obtaining the renewal rights of saloon licenses, petitioner did not take the same in its own name, but had the assignments made out to William A. Dreier, an employee, on forms provided by the city of Chicago for that purpose.  These assignments were recorded in*3981  books kept for that purpose at the city collector's office.  Reassignments in blank were executed by William A. Dreier and were left in the possession of petitioner for its protection in case anything should happen to him.  Petitioner, however, owned and controlled these renewal rights.  The city officials knew that the assignments of renewal rights in the names of brewery employees belonged to the brewery and recognized its ownership.  It was to the interest of the city to recognize such assignments so as to avoid the lapsing of saloon licenses and the resulting loss in fees of $1,000 per license.  From 1906 to 1918 it was the uniform custom and practice in the city of Chicago, Ill., among those interested in the liquor business, to purchase and sell renewal rights of saloon licenses.  Such rights permitted the renewal of the license at another location, in the discretion of the city officials and under existing laws and ordinances.  Petitioner wrote down the cost of each renewal right on its books to $10 and later, but prior to 1917, made a further reduction of this cost to $1 for each renewal right.  The cost of these rights was not taken as a deduction in the income-tax returns*3982  of the petitioner.  The "charge-off" on account of these purchases was the result of the conservative business policy of the petitioner, which was followed with respect to other items such as saloon fixtures.  In 1918 petitioner had approximately 100,000 cases and 200,000 dozen beer bottles on hand, which had not yet been put in circulation, in addition to a large quantity of bottles in bins.  With the advent of prohibition the petitioner placed 30,000 of these cases and 8,500 gross of bottles in storage in its old malt house.  These cases and bottles were branded "McAvoy Brewing Company" and were not generally usable for soft drinks other than "near beer." None of these bottles were ever used by the petitioner after they were placed in storage or after June 30, 1919.  They remained in storage in the malt house until 1923, when this building was demolished as the result of condemnation proceedings in order to make way for certain city improvements.  The bottles in the cases were removed with the cases and placed in a lot near the brewery.  The bottles which were in bulk were either *1020  destroyed by the persons wrecking the buildings or lost at this time.  The quantity which*3983  was retained was sold in 1925 for $2,000.  No bottles or cases of the character placed in storage in the malt house were purchased after 1918, the other bottles on hand at that time, which were not so stored, being sufficient to take care of the needs of the petitioner to the present time, though deliveries of bottles of this type were made subsequent to 1918 on contracts which had been made prior to 1918.  Some cases of a different type, with lids for shipping purposes, were purchased after the cases in controversy had been placed in storage.  The average cost of the 8,500 gross of bottles placed in storage was $3 a gross and the average cost of the 30,000 cases was 85 cents a case, or a total cost of $51,000.  In 1915 petitioner began the construction of a one-column dealcoholizing plant for use in reducing the alcoholic content of beer.  In 1916 it was increased to a capacity of 150 barrels for every 24 hours, and in the following year it was further increased to a capacity of 300 barrels for the same period.  The total cost of the plant (including cost of original plant plus additions made in 1916 and 1917) was $40,185.40.  A new dealcoholizing plant with a capacity of 600*3984  barrels was completed on July 5, 1919, and placed in operation.  On July 9, 1919, the petitioner ceased operating its old still and it has not since been operated.  Although the old still would not reduce the alcoholic content of beer to one-half of one per cent, it could have been used by petitioner in its "near beer" manufacturing operations had occasion warranted.  At the time petitioner ceased operating the old still, the steam piping and electrical current were cut off, but it was not otherwise dismantled.  The engines and pumps were kept oiled and in good condition.  Its life was 20 years.  OPINION.  LITTLETON: The first issue concerns the claim of petitioner for a deduction from gross income as a loss under section 234(a)(4) of the Revenue Act of 1918, or as obsolescence under section 234(a)(7) of the same Act, on account of renewal rights which became of no value when prohibition became effective.  Substantially this same question was before the Board in , wherein a deduction as obsolescence was denied, but a deduction as a loss was allowed in the year in which the renewal rights became worthless.  In so far as the obsolescence*3985  feature is concerned, there can be no question that the same considerations which resulted in the denial of the claim in the Zakon case are equally applicable in this proceeding.  Petitioner's contentions on this point are therefore denied. *1021  With respect to the deduction as a loss, we are likewise of the opinion that the holding in the Zakon case is controlling as to this issue.  The Zakon case involved so-called renewal rights of saloon licenses under the laws of Massachusetts, whereas this proceeding involves similar rights under the laws of Illinois.  In each case the saloon license was issued for a limited period and the licensee had no legally enforcible right to a renewal of such license.  In both cases the renewal of the license rested entirely within the discretion of the administrative authorities, and in both cases it had been the practice of such administrative authorities to issue licenses to the holders of the old licenses.  In both instances the practice of issuing the new license to the holder of the old license had become so well established that these renewal rights were considered very valuable and were bought and sold with the full knowledge*3986  and consent of the city authorities.  In the opinion of the Board, the contention advanced by the respondent that a loss can not be allowed since the petitioner did not own property which it lost when prohibition became effective, is unsound.  While that which petitioner lost may not conform to some technical definitions of property, it can not be denied that the petitioner acquired something of value which it subsequently lost.  In the business which petitioner conducted, it was highly essential that it have a market for its product.  One of its principal markets was the saloon, but it was not permitted to hold a saloon license or operate a saloon.  What it did, therefore, was to purchase these renewal rights and it was thereby in a position to have the saloon licenses issued to persons who would agree to purchase its product.  By this means petitioner's income was increased.  When the "War-time Prohibition Act" became effective and prohibited the manufacture and sale of petitioner's product after June 30, 1919, whatever rights or privileges it formerly enjoyed with respect to these renewal rights were no longer of value.  Petitioner paid substantial amounts for these assets, and*3987  this investment was lost when prohibition became effective and their use or value to it ceased to exist.  We think the point that the laws of Illinois prohibited the issuance of saloon licenses to a corporation is immaterial.  It was not the saloon license which the petitioner purchased and owned, but rather the renewal rights in connection with the isssuance of saloon licenses.  The facts that the license itself could not be issued to the petitioner and that the assignment of a renewal right had to be made in the name of some one other than the petitioner, do not alter the fact that, through the means adopted, which were known and recognized by the city of Chicago, the petitioner came into enjoyment of valuable assets which became worthless when prohibition became effective.  *1022  In view of the foregoing, the Board is of the opinion that the petitioner suffered a loss in the fiscal year ended September 30, 1919, which is deductible under the provisions of section 234(a)(4) of the Revenue Act of 1918.  Since the cost of the renewal rights, $130,387.11, is less than their fair market value on March 1, 1913, the amount deductible is the cost of the property.  *3988 . The Board is also of the opinion that the claim of the petitioner for the inclusion in invested capital of the cost of these renewal rights must likewise be sustained.  By the expenditure of $130,387.11, the petitioner acquired assets that were productive of a part of the income now being taxed.  While it is true that the petitioner did not thereby acquire a right under which it could compel the renewal of these licenses from year to year, under the policy pursued by the administrative officials charged with the duty of issuing licenses, the renewal rights became of value.  The petitioner, in common with others, paid substantial amounts to secure these rights because they were valuable incidents to the production of income not only in the year when acquired, but for the suceeding years until prohibition became effective.  To say that the costs of such income-producing factors do not represent capital expenditures within the meaning of the Revenue Act of 1918 is going to an extent which we do not feel is justified, and, accordingly, the petitioner's contention on this point is sustained.  Petitioner next contends that the*3989  respondent erred in disallowing a deduction on account of certain bottles and cases, and a dealcoholizing plant which are claimed to have been abandoned upon the advent of prohibition.  The material facts with respect to the bottles and cases are that on June 30, 1919, the petitioner had on hand a larger supply of bottles and cases than was then required in the conduct of its business.  These articles were placed in storage and there kept until 1923, when the building in which they were stored was demolished.  At that time the bottles that were in cases were removed to another place where they remained until sold in 1925 for a small amount as compared with their total cost.  The bottles in bulk were apparently destroyed when the building in which they were stored was demolished in 1923.  Little, if any, effort was made to dispose of these articles, at least until sometime subsequent to the year in which the loss is claimed.  At the time these bottles were placed in storage, the petitioner was engaged in the "near beer" business in which this same type of bottle was used.  The situation was similar with respect to the loss claimed on the dealcoholizing plant.  Prior to June 30, 1919, petitioner*3990  had this *1023  plant which was used to dealcoholize beer and make it suitable for sale in what was then "dry" territory.  On July 5, 1919, another similar plant of double the capacity of the old was completed, which differed from the first plant, in so far as the record shows, only as to its capacity and in that the first plant would not reduce the alcoholic content of beer to one-half of one per cent.  The first plant was disconnected in so far as engines, pumps and electrical current were concerned, but otherwise kept intact.  The engines and pumps were kept oiled and greased, and apparently the rest of the plant was kept in good condition.  It could have been connected up within a week's time.  The plant has not been in operation since its operation was discontinued in 1919.  Under the foregoing facts, the Board is of the opinion that the petitioner has failed to establish that either the bottles and cases or the dealcoholizing plant was abandoned or discarded in the fiscal year ended September 30, 1919, to the extent necessary to permit a deduction of their cost under the statute.  Although these properties have not been used since the date when it is contended their use*3991  was abandoned, the facts strongly indicate that they could and would have been used had petitioner's "near beer" business increased, instead of decreased.  They were at all times retained in readiness for use in much the same manner that emergency equipment is frequently kept by prudent operators in other lines.  The property was neither abandoned nor sold.  That its usefulness to petitioner at the time was less than when purchased, or constructed, is not sufficient to warrant a deduction as a loss.  While the old still formerly used in manufacturing beer would not reduce the alcoholic content of beer to as low as one-half of one per cent, it does not appear that if occasion had required this still could not have been used by petitioner in its manufacturing operations in connection with its new dealcoholizing plant.  In any event, the plant was kept in good condition so that it could be made ready for use on short notice, and, consequently, it seems unreasonable to say that it had been discarded or abandoned for further use in petitioner's business.  The situation is somewhat similar to that before the Board in *3992 , wherein we said: It seems clear that property is not ipso facto lost to a taxpayer because it is no longer useful to him.  Ownership and possession still exist, and in some cases value may not wholly disappear.  Value and usefulness are not necessarily interdependent, even though they very commonly look to each other for support.  The want of either does not make certain the absence of the other.  It should be kept in mind that the considerations in ascertaining net income must always be expressed in money and that all the factors relied upon must be translated into terms of money.  Use is only significant to the extent that it is susceptible of such expression.  No one would urge that an income deduction may be claimed because a fixture or tool proves less useful than expected when the purchase was *1024  made.  Until the investment is converted into terms of money by sale or other disposition or its worthlessness otherwise demonstrated, there is neither loss nor gain and income is neither greater nor less.  So when we put aside the legislative cause of petitioners' misfortune, and find further that the evidence shows*3993  only that the glass could no longer be used by petitioner in its business, we are still far removed from the establishment of such a loss as offsets income.  It is not necessary to consider whether we should be brought closer if no sale or disposition could have been made after reasonable effort, for there is no evidence of an effort; and voluntary storage is not a final disposition.  The respondent is on this point sustained.  In view of the foregoing, the action of the Commissioner in denying a loss on the cases and bottles and on the dealcoholizing plant is sustained.  Judgment will be entered on 10 days' notice, under Rule 50.